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PS 8
(3/15)
                                                                                                            FILED IN THE
                                                                                                        U.S. DISTRICT COURT
                              UNITED STATES DISTRICT COURT                                        EASTERN DISTRICT OF WASHINGTON




                                                            for                                     Jun 24, 2022
                                                                                                       SEAN F. MCAVOY, CLERK
                                           Eastern District of Washington


 U.S.A. vs.                 Douglass, Gary Erwin                        Docket No.         0980 2:21CR00145-TOR-2


                                 Petition for Action on Conditions of Pretrial Release

COMES NOW Erik B. Carlson, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct of
defendant Gary Erwin Douglass, who was placed under pretrial release supervision by the Honorable U.S. Magistrate Judge
James A. Goeke sitting in the Court at Spokane, Washington, on the 5th day of January 2022, under the following conditions:

Standard Condition #9: Defendant shall refrain from the use or unlawful possession of a narcotic drug or other controlled
substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical practitioner in conformance with Federal
law. Defendant may not use or possess marijuana, regardless of whether Defendant has been authorized medical marijuana
under state law.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

On December 6, 2021, Mr. Douglass was ordered to be released from custody to enter into inpatient substance abuse
treatment at Pioneer Center East. The Court imposed conditions of pretrial release supervision. Additionally, Mr. Douglass
was ordered to return to custody upon completion of inpatient substance abuse treatment. On December 21, 2021, the
undersigned officer reviewed the conditions of release with Mr. Douglass, in which he acknowledged an understanding at
that time.

On January 5, 2022, Mr. Douglass appeared before the Court for a status hearing to determine if he should remain out of
custody upon successful completion of inpatient substance abuse treatment. The Court continued Mr. Douglass’ release and
imposed conditions of pretrial release supervision. On January 10, 2022, the undersigned officer again reviewed the
conditions of pretrial release supervision with Mr. Douglass, in which he acknowledged an understanding of the conditions
at that time.

Violation #1: Gary Erwin Douglass is alleged to have violated the condition of pretrial release supervision by testing
positive for the presence of norfentanyl on or about January 10, 2022.

On January 10, 2022, Mr. Douglass provided a urine specimen for his treatment provider, Spokane Addiction and Recovery
Center (SPARC). The sample was sent to Cordant Health Solutions (Cordant) for testing. On January 14, 2022, Cordant
confirmed the above-noted urine specimen tested positive for the presence of norfentanyl. Norfentanyl is a metabolite of
Fentanyl. It should be noted the urine specimen tested negative for the presence of Fentanyl.

On or about April 21, 2022, the undersigned confronted Mr. Douglass about testing positive for the presence of norfentanyl.
Mr. Douglass indicated he had been in a car accident a few days prior to the above-noted drug test, in which he was taken
to the hospital and administered pain medication (hydrocodone), but was unable to provide medical documentation.

Since January 10, 2022, all other drug screens submitted by Mr. Douglass have tested negative for the presence of illegal
controlled substances. It should also be noted, Mr. Douglass successfully completed outpatient substance abuse treatment
at SPARC on May 5, 2022.

                     PRAYING THAT THE COURT WILL ORDER NO ACTION AT THIS TIME
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  Re: Douglass, Gary Erwin
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                                                                      I declare under the penalty of perjury
                                                                      that the foregoing is true and correct.
                                                                      Executed on:       June 24, 2022
                                                            by        s/Erik Carlson
                                                                      Erik Carlson
                                                                      U.S. Pretrial Services Officer


THE COURT ORDERS

[ ✔]     No Action
[ ]      The Issuance of a Warrant
[ ]      The Issuance of a Summons
[ ]      The incorporation of the violation(s) contained in this
         petition with the other violations pending before the
         Court.
[ ]      Defendant to appear before the Judge assigned to the case.
[ ]      Defendant to appear before the Magistrate Judge.
[ ]      Other


                                                                        Signature of Judicial Officer
                                                                               June 24, 2022
                                                                        Date
